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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · CIVIL ACTION NO. 1:20-CV-00078-CMA-SKC
·4
·5· · ·A.C., AS PARENT OF MINOR AND NEXT FRIEND AND S.T.C.,
·6· · · · · · · · · · · · · Plaintiffs
·7
·8· · · · · · · · · · · · · · · V.
·9
10· · · ·JEFFERSON COUNTY R1 SCHOOL DISTRICT, JEFF GOMEZ,
11· · · ·INDIVIDUALLY, AND WILLIAM CARLIN, INDIVIDUALLY,
12· · · · · · · · · · · · · Defendants
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14· · · · · · · · · · · · ·CONFIDENTIAL
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23· ·DEPONENT:· JEFFREY GOMEZ
24· ·DATE:· · · MAY 11, 2022
25· ·REPORTER:· DANIELLE GARBO
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·1· · · · · · · · · · · · ·APPEARANCES
·2
·3· ·ON BEHALF OF THE PLAINTIFFS, A.C., AS PARENT OF MINOR
·4· ·AND NEXT FRIEND AND S.T.C.:
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10· ·E-mail: milo@ascendcounsel.co
11
12· ·ON BEHALF OF THE DEFENDANTS, JEFFERSON COUNTY R1 SCHOOL
13· ·DISTRICT, JEFF GOMEZ, INDIVIDUALLY, AND WILLIAM CARLIN,
14· ·INDIVIDUALLY:
15· ·Gwyneth Whalen, Esquire
16· ·Elliott V. Hood, Esquire
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·1· · · · · · · · · · · · ·STIPULATION
·2
·3· ·The deposition of JEFFREY GOMEZ was taken at CAPLAN &
·4· ·EARNEST LLC 3107 IRIS AVENUE SUITE 100 BOULDER, COLORADO
·5· ·80301 on WEDNESDAY, the 11th day of MAY 2022, at
·6· ·approximately 9:04 a.m.; said deposition was taken
·7· ·pursuant to the FEDERAL Rules of Civil Procedure.
·8
·9· ·It is agreed that DANIELLE GARBO, being a Notary Public
10· ·and Court Reporter for the State of COLORADO, may swear
11· ·the witness and that the reading and signing of the
12· ·completed transcript by the witness is not waived.
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·1· ·beginning of year training, we would do -- we would go
·2· ·over two things every year.· Actually, several things
·3· ·every year, but specifically, we went over the staff
·4· ·handbook.· So they were aware of what expectations were
·5· ·around their jobs; when they reported, lunches, you
·6· ·know, everything.· And then, we went through the student
·7· ·hand -- handbook, conduct code.· And at the end of each
·8· ·year, we would meet with teachers in a collaborative
·9· ·leadership setting and get their input.· So they were
10· ·involved in also making or determining what was in that
11· ·student handbook or conduct code.
12· · · · Q· · Okay.· So their input was about what the
13· ·student conduct code should include?
14· · · · A· · Right.· Any changes.· Any, you know -- if
15· ·there were some patterns that were happening, things we
16· ·need to add, even the wording we need to change, that
17· ·they were part of that process.
18· · · · Q· · Okay.· Who did you instruct -- or maybe it was
19· ·in your PowerPoint.· Who were students instructed to
20· ·inform about sexual harassment or sexual assault?
21· · · · A· · Any trusted adult in the building.· Anyone
22· ·that they trusted.
23· · · · Q· · Okay.· And would a trusted adult include
24· ·teachers?
25· · · · A· · Yes.
